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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1                                # 11379



                             United States District Court
                              SOUTHERN DISTRICT OF ALABAMA


        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                  V.
        LEROY WATERS
                                                                CASE NUMBER: 1:11-cr-00012-001
                                                                CASE NUMBER: 1:12-cr-00001-001
                                                                USM NUMBER: 11963-003

                                                               Christ Coumanis
                                                                         Defendant's Attorney
THE DEFENDANT:
X       pleaded guilty to count(s) 15 of CR 11-00012 and count 20 of CR 12-00001 .
        pleaded nolo contendere to count(s)        which was accepted by the court.
The defendant is adjudicated guilty of the following offenses:
                                                                       Date Offense                Count
Title & Section           Nature of Offense                            Concluded                   No.(s)
42 U.S.C. § 1320a-        Anti-Kickback Statute Violation              September, 2009              15
7b(b)                     CR 1:11-cr-00012-001
18 U.S.C. § 1519          Bankruptcy Fraud                             September, 2009               20
                          CR 1:12-cr-00001-001

      The defendant is sentenced as provided in pages 2 through         5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

X  Counts 1, 2, 3, 4 and 5 of the original indictment in CR 11-00012 and Counts 14, 16, and 17 of the
superseding indictment in CR 11-00012 were dismissed; and, Counts 19, 21, 22 and 23 were dismissed
in CR 12-00001 on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant
shall notify the court and the United States attorney of any material change in the defendant's economic
circumstances.
                                                              September 27, 2012
                                                                Date of Imposition of Judgment


                                                                s/Kristi K. DuBose
                                                                UNITED STATES DISTRICT JUDGE

                                                                September 27, 2012
                                                                Date
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                                                                                                                     Judgment 2

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 4 - Probation
Defendant: LEROY WATERS
Case Number: 1:11-CR-00012-001 / 1:12-CR-00001-001
                                                    PROBATION
The defendant is hereby placed on probation for a term of THREE (3) YEARS, as to Count 15 of CR
11-00012 and Count 20 of CR 12-00001; said terms to run concurrently.

SPECIAL CONDITIONS: the defendant shall serve six months at the Residential Re-Entry Center, as directed
by the center and the Probation Office; upon release from the Residential Re-Entry Center, the defendant shall
participate in the Location Monitoring Program for a period of 180 consecutive days. During this time, the
defendant shall remain at his place of residence at all times and shall not leave except when such leave is
approved in advance by the U.S. Probation Office. The defendant shall be monitored by a form of location
monitoring, as determined by the Probation Office. The defendant shall comply with location monitoring
procedures specified by the Probation Office and abide by all associated technology requirements. The Court
orders that the defendant pay the costs associated with such monitoring. No fine was imposed, as the defendant
is unable to pay. The defendant was allowed to voluntarily surrender to the Residential Re-Entry Center, once
designated and notified by the U.S. Marshal, the RRC authorities or the Probation Office.

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the probation
        officer.

X        The defendant shall not possess a firearm , destructive device, or any other dangerous weapon. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine
or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with the additional conditions on the attached page (if applicable).

                           STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court
   or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,or other
         acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
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                                                                                                                   Judgment 3

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13) as directed by the prob. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and
         to confirm the defendant's compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under the provisions
         of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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                                                                                                         Judgment 4
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: LEROY WATERS
Case Number: 1:11-CR-00012-001 / 1:12-CR-00001-001

                          CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                           Assessment               Fine                      Restitution
        Totals:            $ 200.00 **              $ -0-                     $ -0-
**A $100 special monetary assessment was imposed as to Count 15 of CR 11-00012 and Count 20 of CR 12-
00001, for a total SMA of $200.

        The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case
        (AO 245C) will be entered after such a determination.

        The defendant shall make restitution (including community restitution) to the following payees in the
        amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.


Name(s) and                   *Total                         Amount of                     Priority Order or
Address(es) of Payee(s)       Amount of Loss                 Restitution Ordered           % of Payment




TOTALS:                       $                              $


        If applicable, restitution amount ordered pursuant to plea agreement. $
        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
        restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §
        3612(f). All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to
        18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        The interest requirement is waived for the      fine and/or       restitution.
        The interest requirement for the    fine and/or      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title
18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                               Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments

Defendant: LEROY WATERS
Case Number: 1:11-CR-00012-001 / 1:12-CR-00001-001
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:
A       X Lump sum payment of $ 200.00                 due immediately, balance due
            not later than          , or     in accordance with C,       D, E or F below; or
B           Payment to begin immediately (may be combined with C, D, E or F below); or
C          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date
        of this judgment; or
D           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
        from imprisonment to a term of supervision; or
E           Payment during the term of supervised release will commence within            (e.g., 30 or 60
        days) after release from imprisonment. The court will set the payment plan based on an
        assessment of the defendant's ability to ay at that time; or
F           Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed.

        Joint and Several:
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
